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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

Vv. 19-CR-6140FPG
PATRICK W. CARLINEO, JR..,

Defendant.

 

PLEA AGREEMENT
The defendant, PATRICK W. CARLINEO, JR., and the United States Attorney for
the Western District of New York (hereinafter "the government") hereby enter into a plea

agreement with the terms and conditions as set out below.

1 THE PLEA AND POSSIBLE SENTENCE
L, The defendant agrees to waive indictment and to plead guilty to a two-count
Information which charges:

a. In Count 1, a violation of Title 18, United States Code, Section
115(a)(1)(B) (threatening a United States official), for which the maximum possible sentence
is a term of 10 years imprisonment, a fine of $250,000, a mandatory $100 special assessment,
and a term of supervised release of up to 3 years; and

b. In Count 2, a violation of Title 18, United States Code, Section 922(g)(1)
(felon in possession of firearms), for which the maximum possible sentence is a term of
imprisonment of 10 years, a fine of $250,000, a mandatory $100 special assessment and a

term of supervised release of up to 3 years.
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c. The defendant understands that the penalties set forth in this paragraph

are the maximum penalties that can be imposed by the Court at sentencing.

2. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required
to serve in prison all or part of the term of supervised release, up to 4 years, without credit for
time previously served on supervised release. As a consequence, in the event the defendant is
sentenced to the maximum term of incarceration, a prison term imposed for a violation of
supervised release may result in the defendant serving a sentence of imprisonment longer than

the statutory maximum set forth in { 1 of this agreement.

Il. ELEMENTS AND FACTUAL BASIS

3. The defendant understands the nature of the offenses set forth in {1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crimes:

Count 1 - 18 U.S.C. § 115(a)(1)(B)

First, that the defendant threatened to assault or murder a United States official; and

Second, that the defendant acted with the intent to impede, intimidate, or interfere
with such United States official while she was engaged in the performance of official duties
or with intent to retaliate against such United States official on account of the performance of
official duties.

The term “United States official” includes a Member of Congress. 18 U.S.C. §

115(c)(4).
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Count 2 — 18 U.S.C. § 922(s)(1

First, that the defendant knowingly possessed the firearms, as charged in the
Information;

Second, at the time the defendant possessed the firearms, the defendant had previously
been convicted of a crime punishable by imprisonment for a term exceeding one year;

Third, at the time the defendant possessed the firearms, the defendant knew that he
had previously been convicted of a crime punishable by imprisonment for a term exceeding
one year; and

Fourth, that the possession of the firearms was in or affecting commerce.

FACTUAL BASIS
4, The defendant and the government agree to the following facts, which form the

basis for the entry of the pleas of guilty including relevant conduct:

a. On or about March 21, 2019, in the Western District of New York, the
defendant, PATRICK W. CARLINEO, JR., did threaten to assault and
murder Congresswoman Iihan Omar, a Member of Congress from the
5" Congressional District in Minnesota, with the intent to impede,
intimidate, and interfere with Congresswoman Omar while she was
engaged in the performance of her official duties, and with intent to
retaliate against Congresswoman Omar on account of the performance
of her official duties.

b. Specifically, on or about March 21, 2019, at approximately 12:20 p.m.,
the defendant, using a cellular telephone, placed a telephone call to the
offices of Congresswoman Omar in Washington, D.C. At the time of
the call, the defendant was physically present in Addison, New York, in
the Western District of New York. A member of Congresswoman
Omar’s staff answered the call. During the call, the defendant stated,
“Do you work for the Muslim Brotherhood? Why are you working for
her, she’s a fucking terrorist.” The staff member recalls that the
defendant then stated, “I'll put a bullet in her fucking skull.” The
defendant recalls that he stated, “Somebody ought to put a bullet in her
skull. Back in the day, our forefathers would have put a bullet in her
fucking skull.” The defendant admits and agrees that both of these
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statements constituted threats to assault and murder Congresswoman
Omar, and that he made these threats with the intent to impede,
intimidate, and interfere with Congresswoman Omar while she was
engaged in the performance of her official duties, and to retaliate against
her on account of the performance of her official duties. In addition, the
defendant admits that he told the Federal Bureau of Investigation (FBI)
that he made the threatening telephone call because he hates individuals
he views as radical Muslims being in the United States government; he
believes that Congresswoman Omar supports Hamas and the Muslim
Brotherhood; and he believes that Congresswoman Omar’s election to
the United States Congress to be illegitimate.

On or about April 5, 2019, in the Western District of New York, the
defendant, PATRICK W. CARLINEO, JR., knowingly and unlawfully
possessed, in and affecting commerce, firearms, namely one (1) Llama-
Gabilondo y Cia, Model Max-1, .45 caliber semi-automatic pistol,
bearing serial number 13456-95, loaded with six (6) rounds of .45 auto
caliber ammunition; one (1) Tristar, Model Cobra, 12 gauge pump-
action shotgun, bearing serial number H9A01913; one (1) Savage,
Model Axis, .308 caliber bolt-action rifle, bearing serial number
H921203; one (1) Rossi, Model M2022, 20 gauge break-barrel shotgun,
bearing serial number SP481856; one (1) Winchester, Model 190, .22
caliber semi-automatic rifle, bearing serial number B1601774; and one
(1) SKS-style, 7.62x39mm semi-automatic rifle, bearing serial number
24044013, from an unknown manufacturer. The defendant also
possessed hundreds of rounds of .45 caliber, .22 caliber, .308 caliber,
7.62x39mm caliber, and shotgun ammunition. The defendant possessed
the above-referenced firearms and ammunition at his residence at 6480
County Road 21, Addison, New York.

d. The defendant was convicted on or about September 3, 1998, in County
Court, Steuben County, New York, of Criminal Mischief in the Second
Degree, a Class D felony, in violation of New York State Penal Law §
145.10. Said conviction was punishable by a term of imprisonment
exceeding one year, the defendant receiving an actual sentence of five
years’ probation and, after a violation of probation, one year in jail. The
defendant knew — at the time he possessed the firearms described in §
A(c), above - that he had previously been convicted of a crime
punishable by a term of imprisonment exceeding one year. Neither the
State of New York, nor any other government authority, has restored
the rights of the defendant to lawfully possess firearms.

The firearms described in { 4(c), above, were not manufactured in the
State of New York, and thus had at some time prior to the defendant’s
possession, traveled in interstate commerce.
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Il. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL
6. The government and the defendant agree that Guidelines § 2A6.1(a)(1) applies

to the offense of conviction in Count 1 and provides for a base offense level of 12.

7. The government and the defendant agree that Guidelines § 2K2.1(a)(7) applies
to the offense of conviction in Count 2 and provides for a base offense level of 12.
SPECIFIC OFFENSE CHARACTERISTICS
U.S.S8.G. CHAPTER 2 ADJUSTMENTS
8. The government and the defendant agree that the following specific offense
characteristic does apply to Count 1:
a. the four-level decrease pursuant to Guidelines § 2A6.1(b)(6) (offense
involved single instance evidencing little or no deliberation).
9. The government and the defendant agree that the following specific offense
characteristic does apply to Count 2:
a. the two-level increase pursuant to Guidelines § 2K2.1(b)(1)(A) (offense
involved three to seven firearms).
U.S.S.G. CHAPTER 3 ADJUSTMENTS
10. |The government and the defendant agree that the following adjustment to the

base offense level does apply to Count 1:
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a. the six-level increase of Guidelines § 3A1.2(b) (victim was government
officer or employee, offense motivated by such status, and applicable
Chapter Two guideline is from Chapter Two, Part A).

ADJUSTED OFFENSE LEVEL
11. Based on ff 6 through 10 of this agreement, and Guidelines § 3D 1.4, it is the

understanding of the government and the defendant that the adjusted offense level for the

offenses of conviction is 16.

ACCEPTANCE OF RESPONSIBILITY
12. Atsentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level decrease of Guidelines § 3E1.1(a) (acceptance of
responsibility) and further agrees to move the Court to apply the additional one (1) level

decrease of Guidelines § 3E1.1(b), which would result in a total offense level of 13.

CRIMINAL HISTORY CATEGORY
13. It is the understanding of the government and the defendant that the
defendant's criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the pleas of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT

 

14. _—_‘It is the understanding of the government and the defendant that, with a total

offense level of 13 and criminal history category of I, the defendant's sentencing range would
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be a term of imprisonment of 12 to 18 months, a fine of $5,500 to $55,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at

sentencing the defendant is subject to the maximum penalties set forth in { 1 of this agreement.

15. | The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.

16. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the pleas of guilty based on the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS

17. In the event the defendant’s pleas of guilty are withdrawn, or convictions
vacated, either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding,
collateral attack or otherwise, the defendant agrees that any charges dismissed pursuant to
this agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty pleas or vacating of

the convictions becomes final.
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Vv. REMOVAL
18. The defendant represents that he is a citizen of the United States. However, if
the defendant is not a citizen of the United States, the defendant understands that, if
convicted, the defendant may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

VI. GOVERNMENT RIGHTS AND OBLIGATIONS
19. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government; .

c. advocate for a specific sentence consistent with the terms of this
agreement including the amount of a fine and the method of payment;

d. modify its position with respect to any sentencing recommendation or
sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor; and

e. oppose any application for a downward departure and/or sentence
outside the Guidelines range made by the defendant.

20. At sentencing, the government will move to dismiss the Criminal Complaint

pending against the defendant under Magistrate's No. 19-MJ-4052.
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21. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

22. In exchange for the defendant’s pleas of guilty pursuant to this agreement, the
government agrees not to charge Lisa Caslin with violations of Title 18, United States Code,
Sections 922(g)(1) and 2 (aiding and abetting the possession of firearms and/or ammunition
by a convicted felon), and 1001(a) (false statements), arising out of the events that occurred
on or about and between March 29, 2019, and April 5, 2019, at 6480 County Road 21,
Addison, New York.

VO. APPEAL RIGHTS

23. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, { 14 above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the

defendant's sentence.

24. The defendant understands that by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.
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25. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section III, 414 above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.

VII. FORFEITURE PROVISIONS

FIREARM AND AMMUNITION FORFEITURE

26. The defendant acknowledges that the defendant is the owner and/or exercised
dominion and control of the firearms and ammunition described below and agrees to the
immediate entry of a Preliminary Order of Forfeiture pursuant to Title 18, United States
Code, Sections 924(d), 3665 and Title 28, United States Code, Section 2461(c) against the
following property, all of which was seized at 6480 County Road 21, Addison, New York, on
April 5, 2019:

a. one (1) Llama-Gabilondo y Cia, Model Max-l, .45 caliber semi-
automatic pistol, bearing serial number 13456-95;

b. one (1) Tristar, Model Cobra, 12 gauge pump-action shotgun, bearing

serial number H9A01913;

c. one (1) Savage, Model Axis, .308 caliber bolt-action rifle, bearing serial
number H921203;

d. one (1) Rossi, Model M2022, 20 gauge break-barrel shotgun, bearing
serial number SP481856;

e. one (1) Winchester, Model 190, .22 caliber semi-automatic rifle, bearing
serial number B1601774;

f. one (1) SKS-style, 7.62x39mm semi-automatic rifle, bearing serial

number 24044013, from an unknown manufacturer;

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Various ammunition, including but not limited to:

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nine (9) 12 gauge shotgun shells (Remington);

twenty four (24) 20 gauge shotgun shells;

eight (8) rounds of TulAmmo ammunition;

two (2) rounds of .45 auto caliber ammunition (CTT);

one (1) round of .306 caliber ammunition (Winchester);
nineteen (19) rounds of .308 caliber ammunition (Winchester);
one (1) round of .22L caliber ammunition (Winchester);

one (1) round of 7.62x39mm caliber ammunition;

two (2) rounds of .22 short caliber ammunition;

four (4) rounds of .308 caliber ammunition (FC Winchester);
thirty nine (39) rounds of .22 caliber ammunition (Aguila);

one hundred and fifty (150) rounds of .22 long caliber ammunition
(Lellier & Bellot);

forty (40) rounds of Brown Bear ammunition;

sixty (60) rounds of 7.62x39mm caliber ammunition (JSC);

fifty (50) rounds of .22 caliber ammunition (Federal);

fifty (50) rounds of .22 caliber ammunition (Remington);

fifty (50) rounds of .22 caliber ammunition (Aguila Golden Eagle);
fifty (50) rounds of .22 LR caliber ammunition (American);

two hundred (200) rounds of .22 LR caliber ammunition (Winchester);

one hundred and fifty (150% rounds of .22 LR caliber ammunition
(Blazer);

fifty (50) rounds of .22 LR caliber ammunition (CC1);

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27.
32.2(b)(2) of the Federal Rules of Criminal Procedure, the Court will issue a Preliminary
Order of Forfeiture for the items listed above. The defendant hereby waives any right to notice
of such Preliminary Order of Forfeiture. The defendant further consents and agrees that the
Preliminary Order of Forfeiture and a Final Order of Forfeiture shall issue and become final
as to the defendant prior to sentencing and agrees that it shall be made part of the defendant’s
sentence and included in the judgment pursuant to Rule 32.2(b)(4) of the Federal Rules of
Criminal Procedure. The defendant further agrees to waive any time restrictions or
requirements as provided in Title 18, United States Code, Section 983, any notice provisions
in Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding notice of the

forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and

forty (40) rounds of 7.62x39mm caliber ammunition (Metak);
seven (7) rounds of .45 auto caliber ammunition (RP);

one hundred (100) rounds of Winchester 45C ammunition;
ten (10) 20 gauge shot gun shells (Remington);

one hundred and forty (140) rounds of 7.62x39mm caliber ammunition
(TulAmmo);

thirty (30) 12 gauge shotgun shells (Winchester Super X);
seven (7) Winchester shotgun shells;

thirty seven (37) rounds of Speer Lawman ammunition;
six (6) rounds of .45 Auto caliber ammunition (Speer); and

twenty (20) rounds of .308 caliber ammunition (Fusion).

After the acceptance of the defendant’s guilty pleas, and pursuant to Rule

incorporation of the forfeiture in the judgment.

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28. The defendant acknowledges that the defendant understands that the forfeiture
of property is part of the sentence that may be imposed in this case and waives any failure by
the Court to advise the defendant of this, pursuant to Rule 11(b)(1)(J) of the Federal Rules of
Criminal Procedure, at the time the guilty pleas are accepted. Forfeiture of the defendant's
property shall not be treated as satisfaction of any fine, restitution, cost of imprisonment, or

any other penalty the Court may impose upon the defendant in addition to forfeiture.

29. The defendant knowingly, intelligently, and voluntarily waives his right to a
jury trial on the forfeiture of the assets. The defendant knowingly, intelligently, and
voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of these
assets in any proceeding, including any jeopardy defense or claim of double jeopardy, whether
constitutional or statutory, as to this criminal proceeding or any related civil or administrative
proceeding. The defendant further agrees to waive any claim or defense under the Eighth
Amendment to the United States Constitution, including any claim of excessive fine regarding

the forfeiture of assets by the United States.

30. The defendant agrees to voluntarily abandon all of the items seized during the
search warrant executed by law enforcement at 6480 County Road 21, Addison, New York,
on April 5, 2019, and waives any and all rights or interest which the defendant may still

possess in said property or for which the defendant may have any claim.

31. The defendant agrees to waive any time restrictions, requirement, or any other
applicable federal law, with respect to the abandonment of this property. The defendant
further waives the provisions of 41 Code of Federal Regulations 128-48.102-1 and 41 Code of

Federal Regulations 128-48.50 with respect to the abandonment of the aforementioned

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property and agrees to sign any and all documentation in order to assist the government in

facilitating the abandonment of the said property.

32. The defendant agrees that in the event this plea agreement is voided for any
reason, the agreement for forfeiture, abandonment and disposition of the assets survives and
shall be given full force and effect. The defendant freely, voluntarily, knowingly, and
intelligently waives any right to appeal or collaterally attack any matter in connection with

the forfeiture of assets as provided in this agreement.

IX. TOTAL AGREEMENT AND AFFIRMATIONS
33. This plea agreement represents the total agreement between the defendant,
PATRICK W. CARLINEO, JR., and the government. There are no promises made by
anyone other than those contained in this agreement. This agreement supersedes any other
prior agreements, written or oral, entered into between the government and the defendant.
JAMES P. KENNEDY, JR.

United States Attorney
Western District of New York

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BRETT A. HARVEY
Assistant United States Attorney

Dated: November _/&_ , 2019

I have read this agreement, which consists of pages | through 15. I have had a full
opportunity to discuss this agreement with my attorney, SONYA A. ZOGHLIN, Esq. I agree
that it represents the total agreement reached between me and the government. No promises

or representations have been made to me other than what is contained in this agreement. |

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understand all of the consequences of my pleas of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

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PATRICK W. CARLINEO, JR. SONYA A. YOGHLIN\WSO
Defendant ‘Attorney for the Defendant
Dated: November 1. 2019 Dated: November _/ Xv 2019

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